           Case 2:02-cr-00287-JAM Document 170 Filed 09/29/05 Page 1 of 2


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4    Attorney for Defendant
     Michael Staggs
5
                          UNITED STATES DISTRICT COURT
6
                         EASTERN DISTRICT OF CALIFORNIA
7

8    UNITED STATES OF AMERICA          )
                                       )         No. Cr.S- CRS 02-287 FCD
9                     Plaintiff        )
                                       )         STIPULATION CONTINUING STATUS
10             vs.                     )         CONFERENCE
                                       )
11                                     )         ORDER
     MICHAEL STAGGS                    )         Date: October 3, 2005
                                       )         Time: 9:30 AM
12                                     )         Court: FCD
                      Defendant        )
13                                     )
14

15        This matter is a remand from the Ninth Circuit Court of

16   Appeals and is presently scheduled for status conference on

17   October 3, 2005. The parties, through their respective counsel,

18   stipulate to the continuance of the status conference in to

19   October 17, 2005 at 9:30 AM.

20        This continuance is necessitated due to the fact that the

21   undersigned counsel is unavailable on the date presently set.

22        Assistant United States Attorney Christine Watson agrees
23   with this request and has authorized the undersigned to submit
24
     her signature.
25




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           Case 2:02-cr-00287-JAM Document 170 Filed 09/29/05 Page 2 of 2


1         IT IS SO STIPULATED
2

3
          DATED: September 29, 2005               /S/ Michael B. Bigelow
4
                                                  Michael B. Bigelow
                                                  Attorney for Defendant
5

6

7
          Dated: September 29, 2005               /S/ Christine Watson
8                                                 Mary Grad, AUSA

9

10
                                       ORDER
11
          Upon stipulation of both parties, and for good cause shown,
12
     the next status conference in this case is continued to October
13
     17, 2005 at 9:30 a.m. This continuance is appropriate in order
14
     to maintain continuity of counsel.
15

16
     IT IS SO ORDERED
17

18   Dated: September 29, 2005                /s/ Frank C. Damrell Jr.
                                              Hon. Frank C. Damrell, Jr.
19                                            District Court Judge

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